     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 1 of 42
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 1                 UNITED STATES DISTRICT COURT
                      DISTRICT OF CONNECTICUT
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 3   _____________________________
                                  )
 4   IN RE: KIDD                  )
                                  )         No. 3:20-MC-00016-TOF
 5                                )
                                  )         May 1, 2020
 6                                )
                                  )         2:05 p.m.
 7                                )
                                  )         450 Main Street
 8                                )         Hartford, Connecticut
     _____________________________)
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11
                    MOTION HEARING (VIA ZOOM)
12

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     B E F O R E:
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                THE HONORABLE THOMAS O. FARRISH, U.S.M.J.
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                        Official Court Reporter:
22                      Melissa J. Cianciullo, RMR, CRR, CRC
                        (203) 606-1794
23

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     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 2 of 42
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     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 3 of 42
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 1             (Call to Order, 2:05 p.m.)

 2             THE COURT:     Thank you, Mr. Wood.

 3             And good afternoon, everyone.           And good

 4   evening to those who are calling in from Europe.

 5             We're here in the matter of In re: Kidd.

 6   It's on the docket as Number 3:20-MC-16.             My name is

 7   Judge Farrish.

 8             We're here for a hearing on the motion to

 9   quash of the respondents John Thomas Reynolds and

10   Mark McCall.      It's docketed at, I think, ECF Number

11   8, is it, or 9, docketed at ECF Number 9.

12             Okay.    May I have the appearances of counsel,

13   please, beginning with the petitioner.

14             MR. LeCLERC:      For the petitioner Mr. Kidd,

15   Mr. Brian LeClerc, Berchem Moses.

16             MR. LAVINE:     Good afternoon, Your Honor.

17   Adam Lavine of Kobre & Kim on behalf of Mr. Kidd.

18             Also on the line is David Kerr who is a

19   declarant in this matter at the moment as well as,

20   among others, lead counsel for Mr. Kidd in Scotland

21   Andrew Smith QC.

22             THE COURT:     Okay.     Very well.     Thank you.

23   And for the respondent, please.

24             MS. SOLI:     Yes.     Good afternoon, Your Honor.

25   Toby Soli with Greenberg Traurig for respondents
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 4 of 42
                                                                      4


 1   Mr. Reynolds and Mr. McCall.

 2             THE COURT:     Okay.    Good afternoon, Ms. Soli.

 3             So let me begin by saying that I've read

 4   every document that the parties have filed.              Given

 5   their volume, I hope you'll forgive me, I don't have

 6   fingertip demand of every word in them.             But the

 7   quality of the papers was at a very high level on

 8   both sides, and I thank you for that.            And it leaves

 9   me with only a few questions.

10             So what I propose to do, rather than do a

11   traditional oral argument, is just start with, to

12   respond, I'll tell you that one question that's still

13   weighing on me as I read the papers, and it concerns

14   the apex discovery principle.

15             So, if I could, let me just give you my

16   understanding of that principle by using some

17   examples.    So let's imagine that somebody slips and

18   falls on a wet floor at the McDonald's restaurant

19   right over here on Washington Street in Hartford,

20   Connecticut, and then they seek to depose the CEO of

21   McDonald's out in the corporate office in Chicago.

22   In that case I completely understand why the

23   plaintiff would need to make some showing of personal

24   knowledge on the part of the CEO before he should be

25   given the keys to depose him.
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 5 of 42
                                                                      5


 1             But now instead let's imagine a 10- or a

 2   20-person financial firm down in Greenwich, it does

 3   eight or ten big deals a year and the guy who's the

 4   CEO is involved in every aspect of the organization

 5   and then it gets sued over one of them.             In that case

 6   I don't understand the CEO to be able to avoid a

 7   deposition just by saying, well, I'm a CEO and you've

 8   got to start with everybody below me and work your

 9   way up and depose me and -- me only if you find out

10   that there's some fact you can't from -- get from

11   somebody else.

12             So all of that is a very long wind up to

13   asking you, Ms. Soli, don't I need to know something

14   more about what kind of companies the Lime Rock

15   Partners are than what's been placed in the record

16   before me?     And don't I need to know something more

17   about the improbability of the respondents knowing

18   anything about this transaction before I can invoke

19   the apex discovery principle?

20             MS. SOLI:     Yes, Your Honor, I would agree

21   that you probably need additional information.               But I

22   would state that it's the petitioner's obligation to

23   set forth some basis as to why he believes that

24   Mr. McCall or Mr. Reynolds might actually have

25   relevant information as participants.
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 6 of 42
                                                                      6


 1             And I think in your hypothetical, for

 2   example, you had eight to ten people at a Greenwich

 3   firm and where the CEO was involved in the

 4   transaction, this is a situation actually with --

 5   we're talking about Lime Rock Management, a

 6   particular management company, having offices both in

 7   Westchester and in Texas.         There's approximately

 8   30-plus individuals at both locations, so a total of

 9   60 individuals.      And those individuals that the

10   petitioner has been able to determine from the

11   extensive discovery and litigation that has been

12   going on for years, long before I got involved in

13   this case, petitioner has identified the individuals

14   for Lime Rock Management that were involved in the

15   transaction some ten, twelve years ago, and that is

16   Mr. Lawrence Ross and Mr. Jason Smith, both of who

17   are defenders, i.e., defendants, in the Scottish

18   litigation.

19             So we would submit that the petitioner has

20   the obligation to show that Mr. McCall or

21   Mr. Reynolds have some relevant information before

22   they just start off with them being the high-level

23   executives that they are at a firm that does have

24   multiple employees and do not just ten or twelve

25   transactions a year but many more transactions across
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 7 of 42
                                                                            7


 1   -- internationally and that this particular

 2   transaction was over ten, twelve years ago that it

 3   started.

 4              So there's been no showing by the petitioner

 5   that either of the respondents have any

 6   individualized knowledge about the particular

 7   transactions.

 8              We believe, in contrast, that they were

 9   picked specifically for burdensome and harassment

10   ideas, not because they believe that they have

11   anything involved with or particular knowledge with

12   respect to the transaction.

13              THE COURT:    Okay.    So I do understand the

14   respondents to say that it is the petitioner's burden

15   to show that these guys know something, in other

16   words, that we're kind of in a McDonald's situation

17   here although not that extreme, perhaps.             And, you

18   know, as I decide this, I'll go back to chambers and

19   I'll consider who bears what burden.

20              But let's just imagine for a second that

21   we're not in McDonald's land and they don't bear that

22   burden.    You know, in that case, I think to avoid

23   discovery, it would be the respondent's obligation to

24   affirmatively raise their hand and say I don't know

25   anything, I wasn't involved in the transaction.                  And
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 8 of 42
                                                                        8


 1   is that the case here?        Did these two respondents --

 2   were they not involved in the transaction?

 3             MS. SOLI:     In terms of your -- that's my

 4   understanding, Your Honor.         They were not involved in

 5   the transaction in terms of regular e-mails,

 6   negotiating the deal, et cetera.

 7             I think the -- the only hesitation that I

 8   make is that there are multiple entities and multiple

 9   roles that these individuals play at various levels

10   of the Lime Rock entities.         And do they have a

11   position in an entity that may have had a role in the

12   transaction?     Potentially.

13             But if you're asking me practically

14   speaking -- you know, and I've spoken to them and my

15   firm has spoken to them extensively.            They said,

16   look, you know, it's a total waste of time.              I'm not

17   going to know anything.        So they were not involved

18   in --

19             THE COURT:     Well, the declarations didn't

20   quite say that though.        The declarations didn't say,

21   I don't know anything.        They say, I don't know

22   anything that anybody else wouldn't know, right?

23             MS. SOLI:     Well, I think --

24             MR. LAVINE:     Your Honor, if you would allow

25   me --
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 9 of 42
                                                                      9


 1             THE COURT:     I'll get to you, Mr. Mr. Lavine.

 2   Let me hear Ms. Soli's response to that.

 3             MS. SOLI:     Yeah.    I think the difficulty in

 4   -- with their affidavit, Your Honor, and addressing

 5   it is they were subpoenaed individually, not in their

 6   various capacities for various entities.             And so I

 7   think it's difficult for them to say are they a

 8   potentially managing director or a general partner of

 9   an entity that ultimately had to approve the

10   transaction down the road in order for it to be

11   engaged in?     Potentially.      That's -- you know, we

12   haven't gone through all of that discovery and gone

13   through that process because those particular

14   entities that were involved are defenders in the

15   Scottish proceeding.

16             So we really felt like we were in a catch-22,

17   Your Honor, where the burden is on them to set forth

18   this information and show where they need this

19   information, yet we are in a position where it would

20   take us pulling out all of that discovery, going

21   through all of those documents in order to answer

22   them for the entities.

23             And we really believe strongly that 1782

24   should not be used in this manner because they -- of

25   the rule -- the first discretionary element that you
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 10 of 42
                                                                        10


 1   can consider, Your Honor, is whether they are

 2   participants in the foreign proceeding.             And I think

 3   this is really where the petitioner is trying to,

 4   forgive the euphemism, have their cake and eat it

 5   too.   They want to say that they're not participants

 6   in the foreign proceeding because of their

 7   individual -- because individually, they are not

 8   named defendants, yet the documents they are seeking

 9   are all of the documents from the actual defenders in

10   the proceeding.

11             So if the entity Lime Rock Management -- you

12   know, there's document requests and then there's

13   deposition requests.        If we're talking about, you

14   know, documents that the two individual respondents

15   would have that are not Lime Rock Management

16   documents, they do not have any such documents.

17             THE COURT:      Okay.    Well, we may get to that.

18   And I'll get to Mr. Mr. Lavine in a moment.               But --

19   and I understand your arguments about where the

20   burdens lie and so forth.         And as I say, I'll go back

21   to chambers and I'll consider that, where the burdens

22   lie.

23             But I'm -- let me just ask again, if I decide

24   that the burden is not on them to show, you know,

25   using our analogy, that the CEO of McDonald's knows
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 11 of 42
                                                                       11


 1   something about this fall down, but if instead the

 2   burden is on you to show that you don't, that these

 3   two respondents don't know anything, and that the

 4   discovery is unduly burdensome in a Rule 26 sense as

 5   a result, then a straight-up factual question will

 6   become relevant to you.         And the straight-up factual

 7   question is this:       Did this transaction cross these

 8   two gentlemen's desks?

 9             MS. SOLI:     Your Honor, with that, the answer

10   is no.    I have not reviewed thousands of e-mails,

11   I've not gone back to.         I cannot represent to the

12   Court that there might not -- they are copied on a

13   particular e-mail.

14             But the answer is no, they were not involved

15   and did not participate in the negotiations of this

16   transaction.

17             THE COURT:      Okay.

18             MS. SOLI:     And, Your Honor, I might just also

19   add that in terms of the burden -- and I recognize

20   and appreciate your statement that you will consider

21   that at a further point.

22             I would like to point out that the petitioner

23   in this case has -- and particularly the Kobre Kim

24   firm has been involved in this litigation for years,

25   including the preceding litigation against the law
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 12 of 42
                                                                       12


 1   firm that allegedly was in breach of its fiduciary

 2   duties and had a conflict of interest.             They received

 3   and have in their possession hundreds of pages of

 4   documents.     I have an index that I could read to the

 5   Court of all of the documents that they've received

 6   and they used to prepare this petition that -- to

 7   show Your Honor in their application what the

 8   corporate structure was, what the e-mails were, et

 9   cetera.

10             And so they are -- I would submit, Your

11   Honor, that the reason that they didn't set forth

12   what the involvement of the two respondents,

13   Mr. McCall and Mr. Reynolds, were is because there

14   are no such documents.         They already have them and

15   they already know that.

16             And I would also add that this is part of the

17   reason, frankly, that this entire proceeding and

18   process has -- appears very burdensome and harassing

19   to the respondents in that this litigation has been

20   ongoing for some time, and Mr. Reynolds himself

21   received a threatening letter and a demand over a

22   year and a half ago that he might be personally sued.

23   And he responded to that letter and explained his

24   involvement, and they did not sue him and name him as

25   a defender.
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 13 of 42
                                                                       13


 1             So for them to come to the Court now seeking

 2   his deposition, seeking for him to be obligated to go

 3   and produce all of the underlying documents of the

 4   Lime Rock entities and putting the burden on him to

 5   show that he wasn't involved, they find the entire

 6   subpoena was burdensome and apex discovery,

 7   specifically because they went after these two

 8   individuals individually, and they did not subpoena

 9   any other of these Lime Rock entities, whether

10   they're defenders or not defenders.            They subpoenaed

11   the two individuals and served them at their homes in

12   Westport and Wilton never having asked them whether

13   they would provide this information or explain

14   anything, and also submitted it to Your Honor ex

15   parte without calling and without any communications

16   to counsel who they knew were represented and a part

17   of this case.

18             So we believe that all of that, you know,

19   Your Honor, goes to the overall element that they --

20   that this is a really burdensome, harassing and meant

21   to go after apex high-level executives in discovery

22   for that purpose.

23             THE COURT:      Okay.    So I do want to ask you

24   some questions about that but with apologies for

25   seeming like a dog who just saw a squirrel.               I do
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 14 of 42
                                                                       14


 1   want to ask you something that -- you used the word

 2   "service" and it just triggered a question that I was

 3   going to ask you at the very beginning and I forgot.

 4             So there is some stuff in your papers about

 5   alleged defects in the service and, you know, the

 6   location of the depositions if they were to happen

 7   and whatnot.      It sounds like all of that has been

 8   resolved, right?       So we're really just here talking

 9   about the four discretionary Intel factors; is that

10   right?

11             MS. SOLI:     I think in some aspects, Your

12   Honor.    In terms of the location, I'm still not clear

13   whether they've agreed that we could do the

14   depositions, if they become necessary, in Westport.

15             But, yes, in terms of the service, they

16   did -- and in terms of delivering a check, they did

17   provide those afterward, yes.

18             THE COURT:      Okay.    So I don't need to decide

19   the technical service of the subpoena grounds.               Okay.

20   Very well.

21             So returning to the substance of what you

22   were saying there, so if it's true that every

23   document that Messrs. Reynolds and McCall control

24   have been produced to the Kobre Kim firm in the

25   context of other proceedings, that would have been a
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 15 of 42
                                                                       15


 1   simple matter of put in an affidavit, right?               And

 2   what do I make of the fact that I don't have that?

 3   How does that filter into the fourth Intel factor in

 4   the Rule 26 analysis.

 5             MS. SOLI:     Right.     Let me just clarify, and I

 6   apologize if I misspoke.          I'm not indicating that all

 7   of the Lime Rock entities have already produced all

 8   of the documents in the Scottish proceeding that is

 9   currently pending.       That proceeding is at its infancy

10   stages.

11             What I was suggesting is given the prior

12   litigation and the prior communications with the law

13   firm, when they sued P&W, the law firm, and the

14   lawyer who had alleged by been in the conflict, the

15   e-mails that were going back and forth from Lime Rock

16   to that law firm, I understand, have already been

17   produced and were part of the letters when they sent

18   the demand letter draft complaint to Mr. Reynolds.

19             THE COURT:      Okay.    Was third-party discovery

20   served on the Lime Rock entities during the

21   proceeding against the P&W firm or -- and would they,

22   for example, have e-mails that were just internal

23   within Lime Rock?       Or did they -- was instead

24   discovery only served on P&W and, therefore, all they

25   would have from those proceedings are things that
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 16 of 42
                                                                       16


 1   made their way to P&W?

 2             MS. SOLI:     Your Honor, I don't know the

 3   answer to that question because I wasn't involved in

 4   that litigation, nor was I involved -- or involved in

 5   the Scottish proceedings as well.

 6             But I do want to point out, just on the

 7   Scottish proceedings that have just started and the

 8   procedures involved there, my understanding and as

 9   set forth in the affidavits is there is an argument

10   set on -- well, there's two arguments, one coming up

11   that would be relevant to Your Honor which is

12   essentially the -- what we're calling the motion for

13   protective order.       It has a fancy name, but it's the

14   equivalent motion for a protective order.              That

15   hearing, I understand, is going to be held in

16   Scotland on May 5th, next Wednesday, number one.

17             Number two, my understanding of the Scottish

18   proceeding is there is essentially what is the

19   equivalent of a motion to dismiss proceeding taking

20   place and that that is set for June and that the

21   scope of discovery leading up to and prior to that

22   determination has already -- has been set.              And the

23   only discovery that the Scottish Court ordered was

24   for Mr. Kidd to produce the settlement agreement to

25   determine whether that action can in fact proceed.
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 17 of 42
                                                                       17


 1             But I do want to go back to just for a

 2   second, because you're raising an issue about whether

 3   there was third-party discovery on the Lime Rock

 4   entities or now what would be party discovery on the

 5   Lime Rock entities that would give you the internal

 6   communications.       And I would submit, Your Honor, I'm

 7   sure that there are between the funds and the

 8   management company.        Both of those entities are in

 9   fact defenders in the Scottish proceeding in which

10   case they are participants in the Scottish proceeding

11   and that for -- that in this case they isn't subpoena

12   Lime Rock Management.        They didn't subpoena Lime Rock

13   Fund V.    Those entities may have internal

14   communications related to the transactions, but they

15   are participants in the Scottish proceeding.               And

16   under the criteria set forth in that first factor, if

17   they are participants, then this discovery should not

18   go forward in the United States because they're

19   participating in the Scottish proceeding as

20   defenders.

21             THE COURT:      Okay.    So, Ms. Soli, I'm going to

22   let you say anything you want in support of your

23   motion.    So I don't mean to cut you off.

24             But if you may, while we've got the logical

25   thread, let me switch to Mr. Lavine here and just ask
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 18 of 42
                                                                         18


 1   him about that and what we make of the kind of

 2   complex web here of what proof comes from what

 3   particular Lime Rock entity.

 4             So, Mr. Lavine, I think Attorney Soli has

 5   just invited us to think about that in the context of

 6   the first Intel factor, and I certainly will.               But I

 7   also think about it in the context of the fourth

 8   Intel factor.      It seems like both parties agree that

 9   that factor is judged by Rule 26.            And under the

10   edition of Rule 26 that we've had since the last rule

11   change, we're supposed to kind of weigh the burden of

12   the discovery against the degree of relevance that

13   the information has and its importance to the

14   proceedings and so forth.          I'm going to state this

15   perhaps a little bit provocatively, but I want you to

16   tell me what's wrong with it.

17             So it seems to me like the marginal benefit

18   you get from Section 1782 discovery in the United

19   States over the discovery that's available to you in

20   Scotland is not so much about the claims that you

21   have pled in Scotland but about claims that you have

22   not pled against nondefenders.           Having stated it,

23   perhaps provocatively, I'd like you to react to that.

24             MR. LAVINE:      Sure.

25             THE COURT:      And tell me in particular what
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 19 of 42
                                                                       19


 1   relevance you claim to observe in, you know, that

 2   additional quantum of discovery that you can obtain

 3   through this proceeding, I want you to tell me how

 4   it's relevant to what you pled in Scotland.

 5             MR. LAVINE:      Sure.    And I actually think this

 6   point goes to a number of different items that we've

 7   been discussing today.         It goes to factor one and

 8   whether they are participants.           It goes to burden, as

 9   you suggest, on Rule 26, and it also goes directly to

10   the apex discovery doctrine.

11             And I think the best way to tackle your

12   question is to take a step back for a moment and talk

13   about what precisely the claims are in Scotland and

14   what precisely is the discovery we are seeking.

15             And so I think, Your Honor, if you've read

16   the papers, then you well know that the Scottish

17   proceeding is really claims for fraud and civil

18   conspiracy where the allegations are that certain --

19   the defenders in the current Scottish proceeding

20   played a role in, knew about and intentionally

21   facilitated the undisclosed conflict of interest of

22   Mr. Kidd's attorneys Paull & Williamsons, and they

23   did so, we allege, because it would ultimately result

24   in a better deal for Lime Rock V.

25             So these are the critical facts that we're
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 20 of 42
                                                                             20


 1   trying to prove, essentially, that the defendants in

 2   Scotland knew of the conflict and they facilitated

 3   it.

 4             Now, Reynolds and McCall are or were

 5   officers, directors, control persons of three of the

 6   Scottish defenders and, therefore, their knowledge of

 7   the conflict is essential because if they had

 8   knowledge of the conflict, then such knowledge can be

 9   potentially imputed to the Scottish defendants.                   And

10   so our discovery is primarily aimed at assessing

11   Reynolds' and McCall's knowledge and also relevant --

12             THE COURT:      And accordingly, you can get that

13   discovery in the Scottish proceeding, right?

14             MR. LAVINE:      Well, that is the issue, right,

15   because we can't.       We can't depose Reynolds and

16   McCall about their knowledge in the Scottish

17   proceeding.     And there's no dispute about that

18   because in the motion to quash, the procedure that is

19   suggested by Reynolds and McCall for obtaining

20   discovery or deposition testimony from Reynolds and

21   McCall is that the Scottish Court issue a letter of

22   request to Your Honor or another district court.                   And

23   if that were to happen, that necessarily implies that

24   it's the U.S. courts that must exercise jurisdiction

25   over Reynolds and McCall.         So --
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 21 of 42
                                                                       21


 1             THE COURT:      And I'm sorry to interject, but

 2   let me just make sure that I understand you.

 3             So you're saying that the -- Reynolds and

 4   McCall cannot be deposed under the aegis of the

 5   Scottish proceeding without the help of a United

 6   States court, or they can't be deposed in the

 7   Scottish proceeding at all?

 8             MR. LAVINE:      Without the -- the -- the way

 9   it's currently pled as by respondents, who have not

10   consented to the Scottish court's jurisdiction,

11   without their consenting to such jurisdiction, there

12   would be no way, as I understand it, for a Scottish

13   Court to take discovery or to exercise any

14   jurisdiction over someone who is located in

15   Connecticut.

16             THE COURT:      Okay.    All right.     Do you mind if

17   I grab the mike back and turn to Ms. Soli and just

18   ask her to react to that.

19             So, Ms. Soli, you know, I'll give some

20   thought to what I think about deposing Mr. Reynolds

21   and Mr. McCall about the imputed knowledge of Lime

22   Rock entities that are not defenders in Scotland.

23   But I think what I hear Mr. Lavine saying is that he

24   wants to depose them about their knowledge about Lime

25   Rock entities that are defenders in Scotland but that
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 22 of 42
                                                                        22


 1   for whatever reason, he's not able to do that in

 2   Scotland.

 3             And if I may, let me riff off what I think I

 4   heard him say, not because of any Scottish proof

 5   limitation but rather because the Lime Rock entities

 6   haven't consented to the jurisdiction of the Scottish

 7   court.    Is he right about all of that?

 8             MS. SOLI:     Your Honor, I -- no, he's not.

 9   And it's that last statement that you just made which

10   is because all the Lime Rock entities have not

11   consented to the Scottish jurisdiction, he's mixing

12   the individuals versus the Lime Rock entities.

13             The Lime Rock entities are defenders, and I

14   don't -- I don't know of anything in Scotland or

15   their procedures that would prevent them from asking

16   the Lime Rock entities to provide -- whether it be

17   Mr. McCall and Mr. Reynolds or other individuals who

18   could testify about the knowledge or capacity of

19   those Lime Rock entities.

20             And the problem here is that the subpoena

21   didn't go to the Lime Rock entities.             It went to

22   Mr. McCall and Mr. Reynolds individually.              And, yes,

23   they have not consented to -- because they have not

24   been -- they were not defenders, so technically

25   speaking, yes, they are not defenders and have
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 23 of 42
                                                                       23


 1   consented to that.       But their capacity is as

 2   employees of people who are defenders.             And those

 3   defenders have in fact consented to the jurisdiction

 4   of Scotland and are proceeding there.

 5             And, Your Honor, this is precisely why I was

 6   saying they didn't ask the Scottish Court for that

 7   deposition of either Mr. McCall or Mr. Reynolds or of

 8   any Lime Rock individuals, where my understanding of

 9   the Scottish proceeding is that there was no

10   discovery requested at this initial proceeding stage

11   and that the only discovery that was requested and

12   therefore ordered was for Mr. Kidd to produce the

13   settlement agreement.

14             So I think it -- for the respondent to say

15   that they cannot get the information about

16   Mr. Reynolds and Mr. McCall is false for two reasons:

17   Number one, they haven't asked.           And, number two, the

18   information that they are seeking is the corporate

19   information of the defenders, and I don't know of

20   anything in Scotland that would prevent that, from

21   getting that information from the defenders that are

22   participating in the litigation.

23             THE COURT:      Okay.    So when the time comes in

24   Scotland, if Mr. Lavine's Scottish correspondent were

25   to say to your Scottish correspondent, I would like
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 24 of 42
                                                                       24


 1   to depose Messrs. Reynolds and McCall in their

 2   capacity as directors, or whatever their title is of

 3   the Lime Rock entities that are defenders in the

 4   Scottish proceeding, Lime Rock would say absolutely,

 5   have at it?

 6              MS. SOLI:    Well, I'm not a Scottish lawyer so

 7   I don't know if those are the proper procedures.

 8   But, yes, Your Honor, I don't have any reason to

 9   believe that they would prohibit or not participate.

10   And, in fact, that's one of -- that invoked my

11   client's, kind of, response to this petition and all

12   these proceedings in the U.S.           Why didn't they just

13   ask in Scotland?       Just ask.

14              THE COURT:     Well, I'll turn my mind to what

15   we make of that, and we've actually probably gotten a

16   little bit far afield of where we started on this

17   inquiry.

18              So, Mr. Lavine, I'll let you respond.            But

19   let me also just ask, if we could kind of refocus

20   where this inquiry began.          So I'm trying to do is

21   kind of a traditional Rule 26 analysis that goes to

22   the fourth Intel factor, and under Rule 26, we're

23   told that we're supposed to weigh the burdensomeness

24   of the discovery against, among other things, the

25   importance of what we expect it to reveal to the
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 25 of 42
                                                                       25


 1   proceedings.

 2             And I take from your papers that we hope that

 3   will tell us something about Lime Rock entities that

 4   are not defenders in Scotland.           But what I'm trying

 5   to figure out is what it will tell us about the Lime

 6   Rock entities who are defenders in Scotland.

 7             So with that, I'll throw the mike back to

 8   you.

 9             MR. LAVINE:      Sure.    So, first off, we're not

10   just seeking the corporate information of defenders

11   in these proceedings.        We are seeking testimony from

12   Reynolds and McCall as well as documents that they

13   control, including at many nondefenders.              And so if

14   we stick to the depositions for a moment.

15             THE COURT:      Okay.

16             MR. LAVINE:      Reynolds and McCall and only

17   Reynolds and McCall can speak to the dates on which

18   they became aware of the Paull & Williamsons conflict

19   of interest.      Those were Mr. Kidd's attorneys.

20   Reynolds and McCall and only Reynolds and McCall can

21   speak to the actions that they took or failed to take

22   once they became aware of that conflict and the

23   reasonings why they took those actions or didn't take

24   those actions.

25   in other words, this is not the typically apex
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 26 of 42
                                                                        26


 1   discovery case where the party seeking discovery is

 2   trying to obtain from senior-level executives

 3   information about some transaction or event that was

 4   largely handled by, you know, more junior folks.                  The

 5   information we're seeking is very limited, and it's

 6   about their specific knowledge and their specific

 7   role in this conflict of interest, because that

 8   information goes directly to the pertinent issues in

 9   the case, and that's imputation of knowledge to the

10   defendants as well as the overall corporate structure

11   of the Lime Rock entities.

12             And on the corporate structure, what I think

13   Ms. Soli is -- has kind of not mentioned in her

14   presentation or, frankly, in the papers is that when

15   it comes to the corporate structure here of the

16   defenders themselves, a critical point is that Lime

17   Rock V, which is a defender, is a Cayman investment

18   fund.    And the respondents do not deny that, like

19   most or all private equity investment funds, the fund

20   itself has no employees, right?           It holds investments

21   and it has limited partnership investors.

22             Now, as a Cayman investment fund, it's

23   controlled by additional layers of Cayman special

24   purpose entities which are the general partners.                  And

25   as we set forth in the declaration of Rebecca Hume
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 27 of 42
                                                                         27


 1   which was included in our initial moving papers on

 2   that location, the key defender in Scotland, Lime

 3   Rock V, cannot act unless it is directed to do so, or

 4   it cannot act but for through these Cayman entities.

 5   And who are these Cayman entities controlled by?

 6   They're controlled by Reynolds and McCall.

 7             And so earlier there was a suggestion that

 8   Reynolds and McCall were not involved in the

 9   transaction.      That's just, frankly, an impossibility

10   and we think, frankly, close to misleading of the

11   Court.    Because they were certainly involved in the

12   transaction in their capacities as directors and

13   officers of the entities that actually had to make

14   the decision to invest.         That's what the corporate

15   documents of Lime Rock V, the fund, say.              They say

16   that investment decisions like the purchase of the

17   ITS shares are made by the general partners.               And,

18   again, the directors and officers of the general

19   partners are Reynolds and McCall.

20             And so when we're seeking discovery from

21   Reynolds and McCall, both deposition testimony and

22   documents, these are also deposition testimony and

23   documents related to this, these Cayman general

24   partners.     Those are not available in Scotland.                As I

25   said before, Reynolds and McCall have not submitted
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 28 of 42
                                                                       28


 1   to the jurisdiction of the Court.

 2             And I think you actually have in front of you

 3   declarations from two separate Scottish counsel, both

 4   counsel representing Mr. Kidd and counsel

 5   representing respondents, and those declarations say

 6   that the way to get deposition or other testimony

 7   from abroad, like Reynolds and McCall are in the

 8   U.S., is through a letter of request process.               Again,

 9   that process invokes your jurisdiction as a U.S.

10   court.

11             And separately, when it comes to these Cayman

12   general partners, and I can point to specific

13   document requests because I think it's helpful, but I

14   think it's document request 1C which asks for

15   communications by or other -- well, let me just pull

16   it up, if you will bear with me.

17             THE COURT:      Sure.

18             MR. LAVINE:      This is ECF 11-1.

19             THE COURT:      I've got it.

20             MR. LAVINE:      All documents executed by or on

21   behalf of you, LRP GP V Inc., LRP GP V LP or LRM GP

22   LLC in connection with the transaction.

23             These are all Cayman entities.           And

24   separately, in Questions Number 5 and 6, those

25   requests, those document requests are all about the
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 29 of 42
                                                                       29


 1   internal affairs of nondefenders, including corporate

 2   organizational documents, bylaws, et cetera.               And

 3   when it comes to these kinds of documents, despite

 4   the kind of lawyer argument that we've received from

 5   Ms. Soli and the generalized statements that she had

 6   discussions with her clients about this, frankly,

 7   there is no way that the corporate organizational

 8   documents of Cayman SPVs somehow belong to investment

 9   management companies in Delaware.            That's just

10   corporate -- kind of corporate affairs 101.

11             And so this notion that every document or

12   every piece of paper that we're seeking is available

13   through the Scottish court through defenders in that

14   case is just false.        It's true of the documents, and

15   as I explained, it's true of deposition testimony

16   which must take place in the United States.

17             THE COURT:      Okay.

18             MR. LAVINE:      And then -- sorry.        But I think

19   your -- your real question, in coming back to it, was

20   on the Rule 26 analysis.

21             THE COURT:      Right.

22             MR. LAVINE:      And so I kind of walked you

23   through why I think this information is critically

24   important, because Reynolds and McCall, their

25   knowledge is critical and the dates on which they
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 30 of 42
                                                                        30


 1   learned of such conflict of interest is critical.

 2             But let's also consider this, and this goes

 3   to burden and proportionality.           Reynolds and McCall

 4   do not deny that they had knowledge of the conflict

 5   of interest prior to the closing of the transaction.

 6   They do not deny that they had a role in the subject

 7   transaction, at least in some capacity.             And I

 8   explained how clearly it's in capacity as the

 9   ultimate decision-maker at the general partner level.

10   And they do not deny having readily access to the

11   information that's available here.

12             Instead they just contend that discovery

13   ought to be denied outright.          They're not suggesting

14   that it be limited to certain documents.              They're not

15   suggesting that it be limited to alternative

16   witnesses that they propose.          They're suggesting that

17   discovery be denied outright, again, for burden.                  But

18   this is entirely inconsistent with the Rule 26

19   analysis of proportionality, I mean, particularly

20   when you consider that the claims here are asserted

21   in the amount of $210 million, when you consider the

22   fact that each of respondents here is represented by

23   sophisticated counsel and have the means to fight and

24   are fighting very aggressively here and elsewhere.

25             And so to simply deny discovery outright, we
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 31 of 42
                                                                       31


 1   think, would be inconsistent with Rule 26 and

 2   inconsistent with decisions of the Second Circuit

 3   which, of course, prefer, both in civil litigation

 4   and in the 1782 context, that, you know, narrowly

 5   tailored discovery orders or conferences amongst

 6   counsel to narrow issues is the preferred course

 7   rather than denying discovery outright.

 8             THE COURT:      Well, and let me take that up.

 9   So -- yeah.     So I have read the Second Circuit and

10   other cases under 1782 about narrowly tailoring

11   discovery to avoid burden and so forth.             And it leads

12   me to one of the questions I wanted to ask you,

13   which is why can't we do this under a 30(b)(6) in

14   which case, you know, Lime Rock would put up a

15   corporate designee witness.          It would certainly be

16   that person's obligation to go speak to Mr. Reynolds

17   and Mr. McCall and acquire their knowledge on the

18   requested topics, but that's something that the

19   30(b)(6) witness could do without disrupting the two

20   managing directors' schedules, and in theory you

21   could obtain the same information through less

22   intrusive means.       What would you say in response to

23   that?

24             MR. LAVINE:      Yeah.    I think there are a

25   couple of issues.
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 32 of 42
                                                                            32


 1             First, it would -- my question back would be

 2   a 30(b)(6) deposition of which entity?             Because here

 3   we have and we allege that there are at least eight

 4   entities, Lime Rock entities, with the role in the

 5   transaction.      Some of them are foreign entities.              So

 6   whether a 30(b)(6) deposition would even be in the

 7   cards is a matter of dispute.

 8             And so what we have proposed is frankly what

 9   we believe to be the most efficient course which is

10   we know the two individuals who have a role at each

11   and every one of these entities.           Rather than eight

12   30(b)(6) depositions, let's do two depositions of the

13   individuals with the most knowledge, individuals,

14   again, whose own knowledge is relevant or a critical

15   factor in the Scottish proceeding.

16             THE COURT:      Okay.

17             MR. LAVINE:      And I would --

18             THE COURT:      Go ahead.

19             MR. LAVINE:      To add one more point, we have

20   also offered to delay the deposition.             Of course,

21   that -- of course that's for reasons related to

22   COVID-19.     But in the interim, if documents are

23   produced which surely show that, one, there's an

24   alternative witness who would be better or, two, that

25   these folks truly had no involvement, this is
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 33 of 42
                                                                       33


 1   certainly something that in good faith we could

 2   discuss with Ms. Soli about whether there might be an

 3   alternative for depositions.          But in the meantime,

 4   given the pace at which the Scottish case is

 5   proceeding, we don't think there's any need to delay

 6   production of documents.

 7             THE COURT:      Okay.    Very well.     Thank you,

 8   Mr. Lavine.     You have answered all the questions that

 9   I had prepared for you.

10             So this being Ms. Soli's motion, she's going

11   to get the last word.        Before I throw the mike back

12   to her, is there anything else that you would like to

13   say in opposition of the motion?

14             MR. LAVINE:      I would.     If you'd just give me

15   a moment to collect my thoughts and see what points I

16   may have missed.

17             THE COURT:      Certainly.

18             MR. LAVINE:      Yeah.    I -- so when I'm

19   reading -- and I'm reading responses from members of

20   the team as well who are handing me virtual notes, if

21   you will.

22             And what is to say is that -- and we will

23   represent that Mr. Reynolds was part of the deal team

24   involved in the transaction.          And to correct a

25   statement, Kobre & Kim was not involved in the
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 34 of 42
                                                                        34


 1   initial lawsuit in Scotland against Paull &

 2   Williamsons.      We were involved after the fact in

 3   connection with this second lawsuit, and it's also my

 4   understanding that internal Lime Rock documents were

 5   not in fact produced.        And so that continues to be a

 6   black box to us, both the Lime Rock defenders as well

 7   as the Lime Rock entities across the globe.

 8             Another point I just want to discuss, and it

 9   came up early in the case -- in the argument today is

10   about burden for the apex discovery rule.              You know,

11   they have -- respondents have suggested that we bear

12   the burden, and they cite to a Second Circuit case.

13   That case involved a deposition of -- or a proposed

14   deposition of the mayor of New York City, this is

15   Mayor Bloomberg.       And that case dealt exclusively

16   with depositions of high-ranking government

17   officials.

18             And so there's no similar decision of the

19   Second Circuit of which we are aware that squarely

20   addresses the burden of non-governmental witnesses.

21             And we disagree wholeheartedly that the

22   burden rests with us, particularly where, as here,

23   this motion to quash is seeking to prohibit all

24   discovery in the U.S. completely.            And certainly to

25   the extent the burden is on us, we have met that
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 35 of 42
                                                                        35


 1   burden.     We've gone to great lengths to meet that

 2   burden.     If you -- simply if you look closely at the

 3   papers, we have established that there is unique

 4   knowledge on the part of Reynolds and McCall

 5   regarding the corporate structure, regarding entities

 6   involved in this transaction, and, most importantly,

 7   their knowledge of their own involvement.              That is

 8   not something that we may receive from any other

 9   witness.

10              And so instead of that Second Circuit case

11   which deals exclusively with depositions of

12   government witnesses, we think here that, just like

13   in any other motion to quash setting, that the burden

14   should be on the movants to establish compelling

15   circumstances for avoiding depositions entirely.                  And

16   we cite to cases in our papers that stand for that

17   proposition.

18              THE COURT:     Okay.    Thank you.

19              Ms. Soli, you get the last word.

20              MS. SOLI:    Thank you, Your Honor.

21              I don't want to take up too much more of your

22   time because we've obviously covered lots of these

23   sections.

24              I do just want to address the statement from

25   opposing counsel insinuating that I might have been
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 36 of 42
                                                                        36


 1   intentionally misleading the Court, and I think that

 2   that's --

 3             THE COURT:      We know no one would do that.

 4             MS. SOLI:     Thank you, Your Honor.

 5             I think that it does raise the point though,

 6   when you're talking about the burden and the various

 7   eight entities, and he said we just tried to do it as

 8   expeditiously as possible and get one person who

 9   could cover all eight entities, that's precisely the

10   problem, Your Honor.        They're looking to avoid the

11   corporate structure that has been created.              And I

12   think looking at the document requests themselves,

13   which was suggested, I think helps show that.               When

14   you look at the scope of the document request,

15   they're not just looking for information from the

16   Cayman islands general partners, the two entities

17   Lime Rock Partners GP V LP and Lime Rock Partners GP

18   V Inc.    If that was all that they were looking for

19   was information from nondefenders, they would have

20   tried some other process.

21             Instead what they did -- these requests cover

22   information and communications about all of the Lime

23   Rock entities, and most importantly Lime Rock

24   Management and Lime Rock fund which they are seeking

25   that are in fact defenders in the Scottish
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 37 of 42
                                                                       37


 1   litigation, and they're seeking to get all of that

 2   information here, Your Honor.           And I would say that

 3   that violates both the first and the fourth criteria

 4   that you're supposed to consider.            One, because are

 5   participants -- all of the defenders are

 6   participants, and that information should be -- they

 7   should be required to go and get that from Scotland.

 8             Number two, with respect to harassing and

 9   burdensome, they brought it against these two

10   executives for that very reason and went straight to

11   the top apex.

12             In terms of a 30(b)(6) that Your Honor

13   suggested, what if we just get a 30(b)(6) to Lime

14   Rock Management, the reason they didn't do that, Your

15   Honor, is because Lime Rock Management is a defender

16   and a participant.       And so one of the elements there

17   would have shown that you in your discretion could

18   have said, no, they're participants in Scotland, you

19   should get them in Scotland and follow the procedures

20   in Scotland.      That's why they didn't do it that way.

21   And they sought to come this way and subpoena two

22   individuals in their individual capacities and make

23   them go out and get all of the other documents.

24   If -- and I might just say again, I -- it does look

25   like we're headed in a direction where there might be
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 38 of 42
                                                                       38


 1   some information that Your Honor orders that we

 2   produce or some additional information that we need

 3   to set forth with respect to the role or involvement

 4   of Reynolds and McCall.         And I would be happy to do

 5   that.

 6             And I would also be happy to work with

 7   opposing counsel here to show why it is that they're

 8   wasting their time by taking a deposition against

 9   these two individuals, and it really is a burdensome

10   and harassment process.         They're not looking to get

11   the underlying information.          And I think that if what

12   they're looking for is limited to the scope of McCall

13   and Reynolds' personal knowledge, when did they first

14   find out or personal e-mails that they received, not

15   that the entity received from others that could be

16   imputed from the entity but from them personally,

17   there might be some areas that we could work through

18   and solve that for them.

19             But I would submit, Your Honor, that that's

20   not what these subpoenas were for and that's not what

21   this process was for and we sought to quash them

22   because they violated the Intel factors.

23             And, Your Honor, we respectfully request that

24   in your discretion, you quash the subpoenas or, at a

25   minimum, greatly reduce the scope and process of
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 39 of 42
                                                                       39


 1   producing them because they are overburdensome and

 2   request documents from multiple entities that are

 3   participants and defenders in the Scottish proceeding

 4   which has its own process going on right now.

 5             THE COURT:      Okay.    Well, on that last point,

 6   I'm not sure that I really have enough in the papers

 7   to craft a good, you know, middle ground order

 8   between you guys.       So let me just say that I -- you

 9   made a comment that, you know, Your Honor, you seem

10   leaning towards X or Y.         I actually haven't decided

11   this yet.     I'm going to return to my chambers.            My

12   law clerk and I are going to talk about it next week,

13   and we will get it decided.

14             But it does strike me that you guys have kind

15   of left me with an all-or-nothing proposition.

16   Nobody has really kind of sketched out to me a good

17   middle ground by which we might follow those Second

18   Circuit 1782 cases that talk about cabining discovery

19   to control the burden.

20             So all of that is a long way of getting

21   around to closing this hearing by saying that, you

22   know, you guys might consider continuing to talk in

23   the days between now and when I issue my decision.

24   Because I haven't decided how I'm going to go on it

25   yet, but I think it's likely to be an all-or-nothing
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 40 of 42
                                                                       40


 1   one way or the other, only because I don't have a

 2   clear picture of a middle ground view.

 3             In that regard, I should also mention, this

 4   hearing that's happening in Scotland on May 5th, I

 5   don't understand myself to have the authority to stay

 6   consideration of the petitioner's pursuit of this

 7   discovery in the U.S. while we wait to see whether

 8   the Scottish Court quashes it.

 9             But with that said, if we have not ruled by

10   Wednesday and somebody in Scotland does direct

11   Mr. Kidd not to pursue this discovery in the United

12   States, I trust that somebody from Mr. Lavine's side

13   will inform our chambers of that.

14             MR. LAVINE:      Your Honor, we certainly will.

15             And just, I think, for your own benefit and

16   to ensure that you know, any work that you put in

17   between now and next week or whenever you might issue

18   an opinion will not be in vain.           You know, our -- my

19   understanding, at least, of Scottish law is, one, the

20   decision on Wednesday is more akin not to a motion

21   for protective order but more like a temporary

22   injunction, and so that there will be, perhaps many

23   months in the future, kind of a hearing potentially

24   on a final injunction on that matter.

25             And further, even if -- and we think our
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 41 of 42
                                                                       41


 1   clients have -- Mr. Kidd has the stronger of the

 2   arguments in Scotland on the preliminary injunction.

 3   But even in the event that that were granted, there

 4   are abilities to have the Scottish Court reconsider

 5   that decision and the granting of the preliminary

 6   injunction including, for example, if Your Honor were

 7   to determine that, well, under U.S. standards, there

 8   is -- you will grant discovery because, among other

 9   things, discovery is proportional and not overly

10   burdensome.     That kind of decision is something that

11   we think the Scottish Court, even after it's issued

12   its preliminary injunction or denied a preliminary

13   injunction, would -- might want to know about.

14             THE COURT:      All right.     Well, very well.

15   Okay.    I suppose we should give Ms. Soli an

16   opportunity, if there's anything in there that she

17   wanted to respond to before we recess.

18             MS. SOLI:     No, Your Honor.       I -- that's my

19   understanding as well of the Scottish proceeding.

20             THE COURT:      Okay.    Well, just to put a capper

21   on it, my law clerk and I will take this under

22   consideration and start working on this -- well, we

23   have been working on it.          But we will take everything

24   that's been said today into consideration beginning

25   Monday morning, and we will issue a decision when we
     Case 3:20-mc-00016-KAD Document 14 Filed 05/04/20 Page 42 of 42
                                                                       42


 1   are ready to issue a decision.           If events in Scotland

 2   overtake that while we're working, I trust that

 3   somebody will let us know about it subject to all the

 4   caveats that Mr. Lavine has expressed here about how

 5   permanent that might be.         But in any event, you will

 6   hear from us.

 7              All right.     Very well.     If that's it, I will

 8   ask the clerk to recess court.

 9              MR. LAVINE:     Thank you, Your Honor.

10              MS. SOLI:     Thank you, Your Honor.

11              THE COURT:     Thank you.

12              (Proceedings adjourned, 3:01 p.m.)

13

14                     C E R T I F I C A T E

15                          IN RE: KIDD
                       No. 3:20-MC-00016-TOF
16

17                 I hereby certify that the within and

18   foregoing is a true and accurate transcript taken in

19   the aforementioned matter to the best of my skill and

20   ability.

21

22               /s/_Melissa J. Cianciullo______

23            MELISSA J. CIANCIULLO, RMR, CRR, CRC
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